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3                             UNITED STATES DISTRICT COURT

4                                    DISTRICT OF NEVADA

5                                                ***

6     COLBERT NICHOLS,                                 Case No. 3:13-cv-00671-MMD-WGC

7                                 Petitioner,                        ORDER
            v.
8
      ISIDRO BACA, et al.,
9
                              Respondents.
10

11         Petitioner filed an unopposed motion for an extension of time (second request)

12   (ECF No. 70). The Court finds good cause exists to grant the motion.

13         It is therefore is ordered that Petitioner’s unopposed motion for an extension of time

14   (ECF No. 70) is granted. Petitioner will have up to and including June 19, 2020, to file a

15   reply to the answer (ECF No. 61).

16         DATED THIS 20th day of April 2020.

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                                                MIRANDA M. DU
19                                              CHIEF UNITED STATES DISTRICT JUDGE

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